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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                COVINGTON DIVISION


IN RE: Chanda S. Carr                                                 Case Number: 19-20873-tnw
         Debtor                                                       Chapter 7

                                     ATTORNEY CERTIFICATION


         I, Dolores L. Dennery, declare the following:

1.      I an attorney admitted to practice before this court, and an active member of Dennery,
        PLLC. In my position with Dennery,PLLC,I routinely access the firm's business records
        and have personal knowledge of how such records are created, compiled, maintained, and
        retrieved.

2.      The business records upon which this declaration is made were:(a)created or compiled at
        or near the time of the occurrence of the matter recorded, by myself or by J. Christian A.
        Dennery,both ofwhom have personal knowledge ofthe information set forth in the business
        records at issue;and(b)kept in the course ofDennery,PLLC's regularly conducted business
        activities.

3.      I make this declaration in reliance on those business records which specifically relate to the
        agreements between Dennery, PLLC and Ms. Chanda Carr, including without limitation,
        the signed agreements,the court's docket, calendars, text messages and phone records.
4.      I met Ms. Carr on Thursday, June 13, 2019, for approximately 90 minutes to discuss the
        filing ofa petition under chapter 7 ofthe bankruptcy code.
5.      During our time together, I reviewed all required disclosures with Ms. Carr and provided
        her with a copy ofthe disclosures for her records.
6.      As is standard operating procedure for Dennery, PLLC, I reviewed the proposal for pre-
        petition services (Exhibit 1) and discussed the scope of the services that the firm offers
        thereunder. I also walked through each provision of the General Terms and Conditions
        attached hereto as Exhibit 2to ensure that Ms.Carr understood the nature ofthe agreements.
7.      As part of my discussions with new clients,I invariably explain the limitations on the scope
        of services offered under the pre-petition agreement, that the client is under no obligation
        to retain the services of Dennery, PLLC for post-petition services, but that the client must
        retain Dennery, PLLC under a post-petition agreement if she desires the firm to complete
        the case.

8.      I furthermore emphasize to each client, as I did with Ms. Carr, that the obligations to pay
        for any services provided after the filing of the petition under the post-petition agreement
        are not dischargeable, and that Ms. Carr would remain liable to the firm for the balance.
9.      During the meeting,Ms.Carr paid the $300.00 flat fee for pre-petition services and executed
        the pre-petition agreement and general terms and conditions.
10.     Ms. Carr's petition was filed on July 6,2019.
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11,   I had a second meeting with Ms. Carr, on July 25,2019. Over the course of that meeting, I
      reviewed the terms and conditions of the Statement of Work and Promissory Note attached
      hereto as Exhibit 3.(The "post-petition agreement"). As is my standard practice with all
      clients who retain Dennery, PLLC for post-petition services, I explained the terms and
      conditions of the post-petition agreement. I again emphasized that the client is incurring a
      debt that is not affected by the bankruptcy filing.
12.   Ms. Carr executed the post-petition agreement. Dennery, PLLC continues to render the
      services due under the post-petition agreement.


                               ATTORNEY DECLARATION


       I declare under penalty of perjury under the laws ofthe United States that the foregoing is

correct and true to the best of my knowledge.




       Dolores L.Dennery
       Dennery,PLLC


       Executed on Tuesday, October 1, 2019.
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                                                                EXHIBIT A-1
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                                                                EXHIBIT A-2
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                                                                EXHIBIT A-3
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                                       statement of Work and Promissory Note - EXHIBIT A
                                          DENNERY. PLLC
        Authorization for Payments by Automatic Debit Card Charge OR Bank Draft


Account holder:          OuAUph. Qn/iJt
Joint Account holder:

Street Address;         Q(g3            OcOndgL •
City:                                              state:              Zip: ^/D!^
As duly authorized holder(s) of the checking account identified below, I/we authorize
Dennery, PLLC to initiate debits against said checking account to deduct payments due
under my/our agreement with Dennery, PLLC.
If any debit should fail or be returned Non-Sufficient Funds (NSF), I authorize, Dennery,
PLLC, to make up to 2 additional attempts to process a failed debit, and to debit a one
time fee of $20.00 to cover the administrative expenses related to the unsuccessful debit.
I acknowledge and understand that scheduled debits will be made automatically on the
date selected below. Attempts to process failed debits or debits made on account of
administrative fees shall be made with not more 14 calendar days of a failed debit attempt.

         □    7"^ of each month
              21®^ of each month


                                  Debit Card Information


 Name (As it appears on Debit Card) OJc^Of^CX.                                           _
 Debit Card No:                                                 Exp:          CW
 Bank Name:             ftlnIC             f\co£XlCCK.
 Bank City, State;


        This authorization shall automatically terminate on the later of the day upon which
 the last payment due under my/our agreement with Dennery, PLLC is made; or (2) on
   Ju.cy                   , 20    ■
        The undersigned have read the foregoing understand its terms, and acknowledge
 that such are true and accurate and in conformity with the parties' mutual understanding.



 Account Holder                                    Account holder
 Name: Ohanda Uflirr'                              Name:
 Date: ~7 / S5/ 3DI^                               Date;    /
